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10                              IN THE UNITED STATES DISTRICT COURT

11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                      OAKLAND DIVISION

13
     FINJAN, INC., a Delaware Corporation,       Case No.: 4:17-cv-4790-HSG
14
                   Plaintiff,                    PROOF OF SERVICE
15

16          v.

17 BITDEFENDER INC., a Florida Corporation,
   and BITDEFENDER S.R.L., a Romanian
18 Corporation,

19
                   Defendants.
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     ____________________________________________________________________________________
     PROOF OF SERVICE                                        CASE NO. 4:17-CV-4790-HSG
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Case 4:17-cv-04790-HSG Document 11 Filed 10/12/17 Page 3 of 3
